                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA




 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1-09-CR-7
 v.                                                   )
                                                      )       JUDGE COLLIER
 FREDDIE PEREZ                                        )       MAGISTRATE JUDGE LEE


                                             ORDER


        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the nineteen-count

 superseding Indictment (2) accept Defendant’s plea of guilty to the charge in Count One, that is of

 conspiracy to manufacture, distribute and possess with intent to distribute 500 grams or more of a

 mixture and substance containing a detectable amount of methamphetamine in violation of 21 U.S.C.

 §§ 846, 841(a)(1), and 841(b)(1)(A); (3) adjudicate Defendant guilty of the charge in Count One,

 that is of conspiracy to manufacture, distribute and possess with intent to distribute 500 grams or

 more of a mixture and substance containing a detectable amount of methamphetamine in violation

 of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(A); (4) defer a decision on whether to accept the plea

 agreement until sentencing; and (5) find Defendant shall remain in custody until sentencing in this

 matter (Court File No. 176).       Neither party filed a timely objection to the report and

 recommendation. After reviewing the record, the Court agrees with the magistrate judge’s report

 and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation (Court File No. 176) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS



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 as follows:

        (1)    Defendant’s motion to withdraw his not guilty plea to Count One of the Superseding

               Indictment is GRANTED;

        (2)    Defendant’s plea of guilty to the charge in Count One, that is of conspiracy to

               manufacture, distribute and possess with intent to distribute 500 grams or more of

               a mixture and substance containing a detectable amount of methamphetamine in

               violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(A) is ACCEPTED;

        (3)    Defendant is hereby ADJUDGED guilty of the charge in Count One, that is of

               conspiracy to manufacture, distribute and possess with intent to distribute 500 grams

               or more of a mixture and substance containing a detectable amount of

               methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(A);

        (4)    A decision on whether to accept the plea agreement is DEFERRED until sentencing;

               and

        (5)    Defendant SHALL REMAIN in custody until sentencing in this matter which is

               scheduled to take place on Thursday, October 8, 2009 at 2:00 p.m. before the

               Honorable Curtis L. Collier.

        SO ORDERED.

        ENTER:

                                              /s/
                                              CURTIS L. COLLIER
                                              CHIEF UNITED STATES DISTRICT JUDGE




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